8:13-cr-00043-JMG-FG3   Doc # 720   Filed: 08/25/15   Page 1 of 1 - Page ID # 2436




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               8:13-CR-43
                 Plaintiff,
      vs.
                                                         ORDER
EDUARDO VALENZUELA-NUNEZ,
                 Defendant.


     IT IS ORDERED that:

     1.     The defendant's unopposed Motion for Continuance of Sentencing
            (filing 719) is granted.

     2.     Defendant Eduardo Valenzuela-Nunez's sentencing is continued
            to Thursday, October 15, 2015, at 2:30 p.m., before the
            undersigned United States District Judge, in Courtroom No. 1,
            Roman L. Hruska Federal Courthouse, 111 South 18th Plaza,
            Omaha, Nebraska. The defendant shall be present at the hearing.

     Dated this 25th day of August, 2015.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
